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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DONNA CURLING, et al.

       Plaintiffs,
                                                 CIVIL ACTION
       v.
                                                 FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,

       Defendants.


                 DECLARATION OF DR ERIC D. COOMER

      Pursuant to 28 U.S.C. § 1746, I, Dr. Eric D. Coomer, make the following

declaration:

                                      1.

      My name is Dr. Eric D. Coomer. I am over the age of 21 years, and I am

under no legal disability which would prevent me from giving this

declaration. If called to testify, I would testify under oath to these facts.

                                      2.

      I am the Director of Product Strategy and Security for Dominion Voting

Systems (“Dominion”). I was previously the Vice President of U.S.

Engineering for Dominion, and prior to that, I was the Vice President of




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Research and Development for Sequoia Voting Systems. I have been in

product development for election systems since 2005.

                                     3.

      Georgia is implementing a voting solution developed by Dominion for

its elections. Specifically, Georgia has purchased Dominion Democracy Suite

for use in its elections. Democracy Suite includes ImageCast X Ballot-

Marking Devices (BMD), which operate with a printer to produce a paper

ballot, and ImageCast Precinct Polling Place Scanners, which are optical

scanners which allow ballots to be scanned and tabulated. Dominion is also

providing KNOWInk Poll Pads for voter check-in.

                                     4.

      The BMDs produce printed ballots with barcodes to accurately and

efficiently count each vote along with human-readable plain-text ballot

summaries that voters can use to verify their selections. The barcodes do not

include any identifying information that could be used to violate the

anonymity of the voter. The BMD touch-screen tablets run the Dominion

Voting Systems software in Kiosk mode. This prevents any access to software

or features outside of the certified installed program. The certified software

on the BMD does not allow any communication from the device over the

internet. In addition, the BMD has no physical component that would allow

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for wireless transmissions. The format and accuracy of the data stored in the

barcode for a BMD-marked ballot was subject to testing and verification

during the certification process.

                                     5.

      Several Election Technology Vendors, including Dominion Voting

Systems, Election Systems and Software, Unisyn, and Smartmatic supply

BMDs that use barcodes to create summary ballots for voters. Dominion’s

ImageCast X BMD system is currently used by Cook County and the City of

Chicago, Illinois, several jurisdictions within the States of Michigan and

Pennsylvania, and will be used by several California counties including San

Francisco, Alameda, Riverside, Contra Costa, and San Diego in the upcoming

2020 election cycle. In addition, 6 of the 10 largest counties in the country

use BMD devices with barcodes (1. Los Angeles, CA, 2. Cook County/City of

Chicago, 4. Maricopa, AZ, 5. San Diego, CA, 8. Dallas, TX, and 10. Riverside,

CA). Of the 6 counties, 5 are using the Dominion BMD.

                                          6.

      Texas’ decision not to certify the Dominion system was primarily based

on perceived issues of complexity of configuring the equipment especially for

smaller counties. However, Dominion’s Democracy Suite solution with the

ImageCastX BMD has been successfully used in multiple small counties

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throughout the country since 2016. Other perceived issues raised in the

Texas certification were assertions that the secrecy of the ballot was not

preserved. This is incorrect. All data stored on the ImageCast Precinct

tabulators is randomized. There is no uniquely identifying information stored

in the audit mark, or on the compact flash memory card for any ballot that is

tabulated, whether from the ImageCastX BMD, or from a hand-marked

ballot.

                                      7.

      Dominion has worked closely with Georgia election officials on the

rollout of the new system. As part of the development and deployment of

Democracy Suite statewide, no existing components of Georgia’s legacy DRE

system is being used. Dominion’s Election Management System will

completely replace the GEMS system used in Georgia. No information,

software, or source code from the existing DREs is being utilized.

                                      8.

      The Poll Pads are completely replacing the old ExpressPoll units and

no information from the existing ExpressPoll units will be placed into the Poll

Pads. The Poll Pads will instead receive flat text files for each election

containing the then-current voter information from the state’s voter-

registration database. Based upon information received from KNOWink’s

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President and CEO, the Poll Pad is certified for use in the following states:

California, Idaho, Indiana, Minnesota, New York, Ohio, Pennsylvania, Texas,

Virginia.

                                     9.

      Dominion’s optical scanners (ICP) can be used with BMD-marked paper

ballots or hand-marked paper ballots. The ICP units do not interpret the

human-readable (text) portion of either type of ballot. Instead, the ICP units

are programmed to read the QR Code for the BMD ballot or particular

coordinates on hand marked ballot. Please see Exhibit A for a sample of

coordinates on the hand-marked ballot. The target locations are then

correlated to individual choices represented on the ballot. Pre-Logic and

Accuracy Testing (Pre-LAT) is performed each election on every machine to

verify that the target locations on hand-marked ballots, and the barcodes on

BMD-marked ballots correspond correctly to the choices represented on the

ballots and the digital cast-vote-records.

                                  10.

      Every ballot (hand-marked, or BMD generated) scanned on a

Democracy Suite tabulator creates a digital image of the front and back of the

ballot. In addition, the tabulators append an AuditMark to each image. The

AuditMark is a text representation of how the tabulator interpreted the

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ballot at scan time. This image can be used to audit the results of the

election. Each AuditMark includes information on which tabulator the ballot

was scanned. This unique feature of the ImageCast tabulators allows

Election Officials to independently audit how the tabulator interpreted the

QR Code or hand-marked ballot using a single image of the ballot with the

appended AuditMark. It also includes a randomized sequence number when

scanned on the ImageCast Precinct Tabulator. This randomized sequence

number preserves voter anonymity as there is no way to correlate the

sequence number to either an individual voter, or a specific point in time that

the ballot was cast. When results and images are stored on the removable

memory (Compact Flash cards), no date-timestamp information is included

which prevents the ability to recreate the sequence of how the ballots were

cast thus preserving voter anonymity.

                                 11.

      Any changes to the source code of any component of Democracy Suite

would require new certification by the U.S. Election Assistance Commission

and the State of Georgia.

                                 12.

      The Dominion BMDs being implemented in Georgia do not require

calibration in the same way as Georgia’s legacy DREs because they do not

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use the same touch-screen technology. Instead, the ImageCastX BMD uses

modern touch-screen technology, similar to an iPhone or Android phone, that

does not require regular calibration.

                                  13.

      While all computers can be hacked with enough time and access,

Dominion is not aware of any situation where an individual used the bar code

on one of its units to launch software or to affect the operation of the unit.




      I declare under penalty of perjury that the foregoing is true and correct.

Executed this 13th day of November, 2019.




                                                  ________________________
                                                  DR. ERIC D. COOMER




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